Case 4:22-cv-00908 Document 75-3 Filed on 08/21/24 in TXSD Page 1 of 12




                      Exhibit 3
           Case 4:22-cv-00908 Document 75-3 Filed on 08/21/24 in TXSD Page 2 of 12
                                                     Wednesday, August 21, 2024 at 09:50:01 Central Daylight Time

Subject:    Re: Couvillion: Deposi/ons, Discovery, Etc.
Date:       Friday, August 2, 2024 at 7:39:05 PM Central Daylight Time
From:       Jeb Golinkin
To:         Schwank, Daniel
CC:         Denny, Danica, Michael Cancienne, Eason, Suzanne
AEachments: image001.jpg, image002.png, image003.png

Daniel,

I’m not sure what to do with this email. It’s completely unhinged and wildly unprofessional. Are you serious sending
this at 7pm on a Friday? Travel plans have been made. Nigel is going to be in Houston. If you choose not to go
forward with the deposi/on because you a pitching a ﬁt about documents you have not even properly requested, we
probably will not present him again unless you cover costs and even then I have no idea when I am going to be able
to get him back to Houston.

I like you and I think you are going to be an excellent lawyer, but this is very disappoin/ng stuﬀ. I suggest you take a
deep breath and think about what’s going to get this case moving. Also, to be clear, I was prepared to give you more
/me as a professional courtesy even though we sa/sﬁed our burden on the 30(b)(6) topics and I s/ll am, but I never
oﬀered you a second day and your lack of ﬂexibility given my a_empts to compromise are extremely disappoin/ng.

I’m trying to get it moving forward. I hope you will reconsider do the same.

Jeb

Jeb Golinkin
832-250-6567
jgolinkin@jlcﬁrm.com

Sent from my iPhone


          On Aug 2, 2024, at 6:55 PM, Schwank, Daniel <DSchwank@frilot.com> wrote:


          Michael and Jeb,

          Please see the attached notice.

          <image001.jpg>

          Daniel E. Schwank (he/him)
          1100 Poydras Street, Suite 3700
          New Orleans, LA 70163
          504.599.8247 office
          504.599.8137 fax

          From: Jeb Golinkin <jgolinkin@jlcﬁrm.com>
          Sent: Friday, August 2, 2024 3:15 PM
          To: Schwank, Daniel <DSchwank@frilot.com>; Denny, Danica <DDenny@frilot.com>
          Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>; Eason, Suzanne <Season@frilot.com>
          Subject: RE: Couvillion: Deposi/ons, Discovery, Etc.

                                                                                                                     Page 1 of 9
    Case 4:22-cv-00908 Document 75-3 Filed on 08/21/24 in TXSD Page 3 of 12


                                                                               Frilot L.L.C.
                                                                               1100 Poydras Street, Suite 3700
                                                                               New Orleans, Louisiana 70163

FRI LDT                        LLC
                                                                               Phone: 504.599.8000
                                                                               Facsimile: 504.599.8100
                                                                               www.frilot.com
          ATTORNEYS       AT   LAW
                                                                               Daniel E. Schwank
                                                                               dschwank@frilot.com
                                                                               504.599.8247 direct dial
                                                                               504.599.8137 direct fax


                                          August 2, 2024

jgolinkin@jlcfirm.com
Joseph W. Golinkin II
Jordan & Cancienne PLLC
1980 Post Oak Blvd., Suite 2300
Houston, Texas 77056

       Re:     Couvillion Group, LLC v. White Marlin Operating Company, LLC et al
               United States District Court for the Southern District of Houston Division
               Civil Action No: 4-22-cv-00908


Dear Mr. Golinkin:
       Due to Defendants' ongoing failure to comply with the Federal Rules of Civil Procedure,
their continued attempts to obstruct discovery, and their blatant disregard for the Court's February
6, 2024 Order, Couvillion Group, LLC is forced to cancel the deposition of Nigel Salida, which was
scheduled to occur on August 6, 2024 in Houston, Texas. In addition, Couvillion will be filing a
Motion for Sanctions against Defendants requesting they be held in contempt and a default
judgment entered against them.
       Since the inception of discovery, the White Marlin Defendants have intentionally
obstructed the discovery process. Defendants have repeatedly failed to timely answer discovery,
without attempting to secure an extension. In direct violation of Judge Edison's Order to respond
to Couvillion's Interrogatories and Requests for Production of Documents by February 20, 2024,
Defendants failed to produce the documents and information sought by the Court's deadline. As
a result, undersigned counsel continued to send numerous and repeated requests for the same,
without response.
       On May 22, 2024, during the corporate depositions of White Marlin Operation Company,
LLC, Agua Tranquillo Midstream LLC, and Talco Petroleum, LLC, Defendants' corporate
representative stated he was unprepared and unable to testify regarding several critical areas of
inquiry contained in the Notice of Depositions. While Defendants utterly failed to produce a
competent witness as required by the Federal Rules of Civil Procedure, the testimony of
Defendants' corporate representative revealed that Defendants did not produce several critical
    Case 4:22-cv-00908 Document 75-3 Filed on 08/21/24 in TXSD Page 4 of 12

FRILOT LLC

Notice of Cancellation and Motion for Sanctions
August 2, 2024
Page 2

intercompany agreements first requested by Couvillion in September, 2023, and which the Court
ordered Defendants produce in February, 2024. During the depositions, Couvillion called for the
immediate production of these agreements. Following the depositions, Couvillion continued to
request these agreements for over two months. Again, Couvillion's requests were ignored.
        Today, Couvillion was informed that Defendants would not produce these agreements
until the day before the deposition of the Defendants' president, Nigel Salida. Defendants also
now seek to place impermissible restrictions on Couvillion's right to complete the Defendants'
corporate depositions.
        Defendants' gamesmanship and gross disregard for the law must end. Accordingly,
Couvillion is scheduling a discovery conference for 9am on August 6th, 2024. In addition,
Defendants' conduct is in clear violation of the Court's Order. Accordingly, Couvillion will be filing
a Motion for Sanctions pursuant to FRCP 37. Couvillion will request that Defendants be held in
contempt, that a default judgment be entered against them, and that Couvillion be awarded costs
and attorney's fees as a result of the same.




                                                              Daniel E. Schwank
 Case 4:22-cv-00908 Document 75-3 Filed on 08/21/24 in TXSD Page 5 of 12



There will be no deposition of any kind on Wednesday. Mr. Solida is bringing hard copies of the
documents on Monday. I will scan them and send them over the minute I get my hands on them.
--
Joseph (“Jeb”) W. Golinkin II
Partner|Jordan, Lynch & Cancienne PLLC
(o) 713-955-4019 | (c) 832-250-6567
1980 Post Oak Blvd., Suite 2300 Houston, Texas 77056
www.jlcfirm.com | Attorney Biography
<image002.png>


From: Schwank, Daniel <DSchwank@frilot.com>
Sent: Friday, August 2, 2024 3:12 PM
To: Jeb Golinkin <jgolinkin@jlcﬁrm.com>; Denny, Danica <DDenny@frilot.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>; Eason, Suzanne <Season@frilot.com>
Subject: RE: Couvillion: Deposi/ons, Discovery, Etc.

Jeb,

Please send us all other agreements between the Defendants by today. Mr.
Watson testified that there was an operating agreement between the defendants.
The agreement you sent yesterday was a promissory note. We need these
operating agreements, and any other intercompany agreements, to proceed with
depositions next week. The Court ordered these be produced several months ago.

In addition, please advise as to whether Defendants will be proceeding with their
corporate depositions on Wednesday, or provide us with an alternative date.

Best,
Daniel

<image001.jpg>

Daniel E. Schwank (he/him)
1100 Poydras Street, Suite 3700
New Orleans, LA 70163
504.599.8247 office
504.599.8137 fax

From: Schwank, Daniel
Sent: Thursday, August 1, 2024 2:31 PM
To: 'Jeb Golinkin' <jgolinkin@jlcﬁrm.com>; Denny, Danica <DDenny@frilot.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>; Eason, Suzanne <SEason@frilot.com>
Subject: RE: Couvillion: Deposi/ons, Discovery, Etc.

Hi Jeb,

It will be impossible to complete the fact deposition of Nigel and finish three
corporate depositions, all in one day. Watson was unprepared and unable to testify
as to the majority of topics on the Defendants’ deposition notice. As stated below,


                                                                                                  Page 2 of 9
 Case 4:22-cv-00908 Document 75-3 Filed on 08/21/24 in TXSD Page 6 of 12


Defendants will also need to designate a separate witness to testify regarding the
Defendants’ accounting practices and history of intercompany transfers, if Nigel is
unable to do so. Let’s be clear: we would not need to resume the corporate
depositions if Defendants had not failed to properly designate reps in the first
place.

If Defendants are unable to offer corporate reps on August 7th, then please provide
us with an alternative date. We need to finalize these corporate depos before the
end of August.

Thanks,
Daniel

<image001.jpg>

Daniel E. Schwank (he/him)
1100 Poydras Street, Suite 3700
New Orleans, LA 70163
504.599.8247 office
504.599.8137 fax

From: Jeb Golinkin <jgolinkin@jlcﬁrm.com>
Sent: Thursday, August 1, 2024 12:05 PM
To: Schwank, Daniel <DSchwank@frilot.com>; Denny, Danica <DDenny@frilot.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>; Eason, Suzanne <Season@frilot.com>
Subject: RE: Couvillion: Deposi/ons, Discovery, Etc.

Daniel,

Sorry, we are only presenting Nigel on the 6th, and he needs to be done by 6:30. If you are
wanting him to formally testify as a 30(b)(6) witness on topics you feel were not adequately
covered, you are welcome to use some time during the 6th to do that. That said, I’d suggest that
you simply ask Nigel to speak based on his personal knowledge first and see if he answers your
questions, as you did a nice job establishing that he is the person most qualified to speak to
certain topics during your 30(b)(6) depositions. If you don’t get the information you “need” from
Nigel in his individual capacity, you can always try your hand with the Court later on the
corporate rep topics.

On documents, I’ll get you bates stamped versions of these later, but want you to have these now.
I also may have some more documents for you later today (I have the client double checking).

-Jeb
--
Joseph (“Jeb”) W. Golinkin II
Partner|Jordan, Lynch & Cancienne PLLC
(o) 713-955-4019 | (c) 832-250-6567
1980 Post Oak Blvd., Suite 2300 Houston, Texas 77056
www.jlcfirm.com | Attorney Biography
<image002.png>


From: Schwank, Daniel <DSchwank@frilot.com>

                                                                                                    Page 3 of 9
 Case 4:22-cv-00908 Document 75-3 Filed on 08/21/24 in TXSD Page 7 of 12

From: Schwank, Daniel <DSchwank@frilot.com>
Sent: Wednesday, July 31, 2024 3:24 PM
To: Jeb Golinkin <jgolinkin@jlcﬁrm.com>; Denny, Danica <DDenny@frilot.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>; Eason, Suzanne <Season@frilot.com>
Subject: RE: Couvillion: Deposi/ons, Discovery, Etc.

Jeb,

I can come to Houston and take Nigel’s fact deposition on August 6th, and finalize
the three corporate depositions on August 7th.

We are working on the motion for leave to re-add Torrent and Nigel, the basis for
which is stated in Couvillion’s Second Verified Amended Complaint.

I’ll get dates for Couvillion’s corporate depo. Will be after Mitch and Jason’s at the
end of August.

Thanks,


<image001.jpg>

Daniel E. Schwank (he/him)
1100 Poydras Street, Suite 3700
New Orleans, LA 70163
504.599.8247 office
504.599.8137 fax

From: Jeb Golinkin <jgolinkin@jlcﬁrm.com>
Sent: Monday, July 22, 2024 7:49 PM
To: Schwank, Daniel <DSchwank@frilot.com>; Denny, Danica <DDenny@frilot.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>; Eason, Suzanne <Season@frilot.com>
Subject: RE: Couvillion: Deposi/ons, Discovery, Etc.

Daniel,

We can present Nigel Solida at our office in Houston on August 6 or 7. Please let me know
whether these will work.

On your fact witnesses, I can take Mitch D’s deposition on August 27 and will take Jason Holvey
on the 28th. I assume you are still working on the 30(b)(6) timing?

Finally, we oppose your Motion for Leave to Amend, at least until you provide more
information about what and who you are adding and why. The status report you reference does
not reflect any agreement that we would not oppose Couvillion’s motions for leave to amend its
complaint going forward. It was a one time agreement, and we did not oppose that motion. This,
however, is an entirely different motion, as surely you know.

Thanks,

Jeb
--


                                                                                                  Page 4 of 9
 Case 4:22-cv-00908 Document 75-3 Filed on 08/21/24 in TXSD Page 8 of 12


Joseph (“Jeb”) W. Golinkin II
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1980 Post Oak Blvd., Suite 2300 Houston, Texas 77056
www.jlcfirm.com | Attorney Biography
<image002.png>


From: Schwank, Daniel <DSchwank@frilot.com>
Sent: Monday, July 22, 2024 10:04 AM
To: Jeb Golinkin <jgolinkin@jlcﬁrm.com>; Denny, Danica <DDenny@frilot.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>; Eason, Suzanne <Season@frilot.com>
Subject: RE: Couvillion: Deposi/ons, Discovery, Etc.

Jeb,

We have yet to receive your clients’ availability for the depositions requested
below, in addition to the supplemental document production. Please advise.

We can also confirm that Jason Holvey will be made available on either August
27th or August 28th, again subject to the completion of Defendants’ corporate
depositions.

Thanks,
Daniel

<image001.jpg>

Daniel E. Schwank (he/him)
1100 Poydras Street, Suite 3700
New Orleans, LA 70163
504.599.8247 office
504.599.8137 fax

From: Schwank, Daniel
Sent: Friday, July 12, 2024 3:31 PM
To: Jeb Golinkin <jgolinkin@jlcﬁrm.com>; Denny, Danica <DDenny@frilot.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>; Eason, Suzanne <SEason@frilot.com>
Subject: RE: Couvillion: Deposi/ons, Discovery, Etc.

Hi Jeb,

As Mr. Watson was not prepared and unable to testify regarding numerous areas
of inquiry listed in Couvillion’s notices of corporate deposition, please provide us
with Defendants’ availability to resume these corporate depositions in late
July/early August. Based on the testimony provided by Mr. Watson, Nigel Solida is
the individual best situated to testify regarding several topics, including
Defendants’ corporate structure, corporate formation, and intercompany
agreements. Mr. Watson was also unable to testify regarding Defendants’
accounting practices between 2021 and the present day, in addition to Defendants’
intercompany transfers. Please ensure that Defendants appoint a representative(s)

                                                                                       Page 5 of 9
 Case 4:22-cv-00908 Document 75-3 Filed on 08/21/24 in TXSD Page 9 of 12


to discuss all areas of examination listed on the Notice for which Mr. Watson
admitted he was unable to discuss.

Subject to completion of the Defendants’ corporate depositions, we can present
Mitch Dautreuil on August 27th or August 28th. We will present Mr. Dautreuil at our
office here in New Orleans, or via zoom. We are still waiting for confirmation on Mr.
Holvey’s availability.

In addition, we have also yet to receive the Operating Agreement between White
Marlin and Encinal/Talco/Aqua which Richard Watson testified about at length
during his deposition. During White Marlin’s corporate deposition, Mr. Watson
explained “[t]he Talco Petroleum account is the White Marlin Operating Company
account. That’s what it was there for and designated for. And the general ledger
would take in any types of work, including like this, through contract operating
agreements.” In addition, Mr. Watson testified that White Marlin was only entitled to
the funds from the escrow agreement between Southcross and Encinal based
upon the operating agreement between Encinal/Agua and White Marlin. He
testified further that Nigel Solida likely signed this agreement on behalf of both
Encinal/Agua and White Marlin, as Mr. Solida is the sole owner of these
companies.

Couvillion Group requested all intercompany agreements in Requests for
Production of Documents back in October, 2023. Couvillion only learned of the
existence of this critical document after Mr. Watson testified about it during his
deposition. Defendants have failed to produce this document now for several
months, despite Mr. Watson testifying he requested a copy of it prior to his
deposition. Please immediately produce the same, including any other
intercompany agreements between the Defendants.

Lastly, Couvillion will be filing a Motion for Leave to amend its Second Verified
Complaint to assert additional claims and re-name Torrent Oil, LLC and Nigel
Solida as Defendants. Pursuant to the parties’ agreement memorialized in their
March 23, 2023 Joint Status Report (rec. doc. 31), we will represent that
Defendants do not oppose this Motion.

Thanks,
Daniel

<image001.jpg>

Daniel E. Schwank (he/him)
1100 Poydras Street, Suite 3700
New Orleans, LA 70163
504.599.8247 office
504.599.8137 fax

From: Schwank, Daniel <DSchwank@frilot.com>
Sent: Friday, June 28, 2024 3:42 PM
To: Jeb Golinkin <jgolinkin@jlcﬁrm.com>; Denny, Danica <DDenny@frilot.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>
Subject: Re: Couvillion: Deposi/ons, Discovery, Etc.

                                                                                        Page 6 of 9
Case 4:22-cv-00908 Document 75-3 Filed on 08/21/24 in TXSD Page 10 of 12



Jeb,

We’re following up with our client to confirm. We still haven’t received a copy of the
agreements identified during Watson’s deposition. Please provide the same.

Thanks,
Daniel

Get Outlook for iOS

From: Jeb Golinkin <jgolinkin@jlcﬁrm.com>
Sent: Thursday, June 27, 2024 4:16:58 PM
To: Schwank, Daniel <DSchwank@frilot.com>; Denny, Danica <DDenny@frilot.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>
Subject: Re: Couvillion: Deposi/ons, Discovery, Etc.

Daniel,

Following up on this. Please let me know by EOB tomorrow (if not with speciﬁc dates, at least a
conﬁrma/on that you will present both witnesses). Otherwise, we will go ahead and get Mitch
D. subpoenaed and will no/ce Holvey’s deposi/on.

Thanks,

Jeb
--
Joseph W. Golinkin II
Trial Attorney | Jordan, Lynch & Cancienne PLLC
(o) 713-955-4019 | (c) 832-250-6567
1980 Post Oak Blvd., Suite 2300 Houston, Texas 77056
www.jlcfirm.com | Attorney Biography
<image002.png>


From: Jeb Golinkin <jgolinkin@jlcﬁrm.com>
Date: Friday, May 24, 2024 at 12:56 PM
To: "Schwank, Daniel" <DSchwank@frilot.com>, "ddenny@frilot.com"
<DDenny@frilot.com>
Cc: Michael Cancienne <mcancienne@jlcﬁrm.com>
Subject: Couvillion: Deposi/ons, Discovery, Etc.

Daniel,

It was great to meet you in person earlier this week. In addi/on to the topics of my Tuesday
evening (ok, very light night) email, two requests:
   1. Please provide a few dates when we can depose Jason Holvey. We also intend to depose
       Mitch Deutrell. I understand that he no longer works at Couvillion, so please let me know
       whether you will be represen/ng him in connec/on with his deposi/on. If you are
       repping him, please provide dates. If not, we will go ahead and subpoena him.


                                                                                                   Page 7 of 9
Case 4:22-cv-00908 Document 75-3 Filed on 08/21/24 in TXSD Page 11 of 12


   2. Please review Couvillion’s answers to Interrogatory Nos. 3-5, 8-11, 12, 16, 17 and let me
       know whether Couvillion will provide more complete answers, or whether it intends to
       stand on its exis/ng objec/ons. If the la_er, I will go ahead and prepare an ini/al dral of
       one of those joint le_ers you are so fond of.
Addi/onally, although the Court previously sustained WM’s objec/ons to certain requests for
produc/on related to topics you explored in your deposi/ons, I am having the client pull
together some documenta/on that was discussed during the deposi/on and I expect to
supplement the produc/on some/me next week.
Give me a call if you have any ques/ons, comments, etc.

-Jeb
--
Joseph W. Golinkin II
Trial Attorney | Jordan, Lynch & Cancienne PLLC
(o) 713-955-4019 | (c) 832-250-6567
1980 Post Oak Blvd., Suite 2300 Houston, Texas 77056
www.jlcfirm.com | Attorney Biography
<image003.png>



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unlawful. Please notify the sender immediately by replying to this message, then deleting the e-mail and
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                                                                                                                Page 8 of 9
Case 4:22-cv-00908 Document 75-3 Filed on 08/21/24 in TXSD Page 12 of 12


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<August 2, 2024 No/ce.pdf>




                                                                                                                Page 9 of 9
